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UNITED STATES DISTRICT COURT

 

 

 

Jane Thompson :
432 Sloan Avenue :
Oaklen, New Jersey 08107 : CIVIL ACTION NO:
: Dev 3369 Tés)
Plaintiff :
v. : COMPLAINT
National Credit Systems ) ;
PO BOX 312125
Atlanta, Georgia 31131

and
Woodsview/ Tesco Properties
1424 Woodland Drive
Henderson, KY 42420
Michelle Fairchild -Property Manager
Woodsview/ Tesco Properties

1424 Woodland Drive
Henderson, KY 42420

Defendant : (Unlawful Debt Collection)

COMPLAINT

I. PRELIMINARY STATEMENT
— ea ND

L. The plaintiff, Jane Thompson (“Thompsen”),

in this action ig an individual who has been subjected to

abusive, Fraudulent and illegal debt collection
activities. The plaintiff seeks compensatory, and
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statutory damages against Collector, defendants, National
Credit Systems (“National”™} and Woodsview (Tesco
Properties (“Teseo”), and Michelle Fairchild

(“Fairchild”) under the FOCPA.

It. JURISDICTION

2. This Court has jurisdiction over the

matter under 28 U.S.C. § 1331, 1337, 15 U.S.C. § 1692k.

III. PARTIES

3. Plaintiff, Jane Thompson, (“Thompson”), is
an individual residing at 432 Slean Avenue Oakiyn, New
Jersey 08107,

4. Defendant, Michelle Fairchild (“Fairchild”),
is oan agent/employee/owner, of Woodsview / Tesco
Properties, with an office located at 1424 Weodland
Avenue, Henderson, Kentucky 42420.

5. Defendant, Woodsview / Tesco Properties
(“Tesco”) is a company with an office located at 1424

Woodland Avenue, Henderson, Kentucky 42420.

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6. Defendant, National Credit Systems, (“NCS")
Collector, is a Corporation with an address PO BOX
312125, Atlanta, Géorgia 31131.

7. Defendant, NCS, is and Was at all relevant
times a collection agency whose prattice censists
Primarily of e¢ollections of debt alleged to bea aue te
another,

8. Defendant, NCS, is in the business of buying
up bad or outstanding debts and collecting on these debts
during and past the legal statute of limitations,

9. Defendant, NOs, regularly attempts te

collect debts alleged to be due to another

IV, FACTUAL ALLEGATIONS

10. On or about February 8, 2006, Plaintiff,
Jana Thompson, sent a letter and a check to Defendant,
National Credit Services, settling 4 previous debt with
Capstone Properties for an apartment wher@ she resided in
State College Pennsylvania. (Sé¢e Exhibit Aj

li, On or about Pebruary 20th 2006, Defendant,
NCS, sent a letter attempting te collect a different debt
allegedly owad by Plaintiff Jane Thompgon. (See Exhibit

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12. On of about March 13th, 2006, Plaintiff Jane
Thompson sent a letter to NCS disputing the claim and
asking for verification of the alleged debt. In that
letter, Plaintiff denied this specific debt and moreover,
Stated she did not have knowledge of such debt, (See
Exhibit ¢)

13, On or about March 22, 2006, NCS sent a
letter in response signed by Collection Representative
Letrisha Chatman and attached a fax dated April 26, 20065,
titled ATTEMPT T0 COLLECT A BAD DEBT, Signed by an M,
Fairchild without any further identifying information and
sent by regular mail. This attachment letter gave an
address of a Jane Thompson at “1424 Woodland,” without
any further identifying information, at a Woodsview
Apartments, without any further information, which was
hot an address where Plaintiff ever resided, and without
further explanation. {See Exhibit D)

14. A short time later, Plaintiff examined her
credit report and saw no outstanding debt from befendant
and thought that the matter was cleared from her recerd
2S an error.

15. Yel, on or about March 21, 2007, Plaintiff

was denied approval on a home equity line of credit as

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the direct result of the above fraudulent, invalidated
and disputed debt. (See Exhibit 5B)

16. After Plaintiff contacted the Federal Trade
Commission, and researched the collection agency and
underlying party, on or about April 2, 2007, Plaintiff
contacted the property manager M, Fairchild, and Tesce
Properties, Woodsview Apartments by letter, to 4nform
them that they were still pursyving the wrong Jane
Thompson. (See Exhibit PF)

17, On or about April 6°", 2007, Plaintiff
contacted NCS representative, Letzisha Chatman, in order
to resolve the matter. Ms. Chatman repeatedly hung up on
Plalntiff, refusing to give Plaintiff any verification,
information or resolution regarding the debt. Instead,
Ms. Chatman offered an erroneous social security number
which Plaintiff pleaded was not hers and thus proved that
this was not her debt. Plaintiff obtained no relief.

18. As a result of the acts alleged above,
Plaintiff Jane Thompson has suffered financial harm as
the result of being unable to secure a home equity loan
aS well as physical harm - iliness requiring medical
treatment and medication, headaches, nausea,

embarrassment, emotional distress, depression and lives

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in fear of further harm to her reputation and livelihood

as a result of this debt.
Vv. CAUSES OF ACTION
FIRST CLAIM — FAIR DEBT COLLECTION BRACTICES AcT

15. Plaintiff hereby incorporates paragraphs 1-
18 above as fully set forth herein.

20. Defendant National Credit Systems (“NCS') is
a debt collector as defined by the FDCPA, 15 U.S.C. §$
16928 (6).

ai, Defendant violated the FDCPA in it’s course
of conduct with the plaintiff by:

a. Directly and through it’s agents and
employees, violated 15 U.S.C. § 1692b(1) by
not revealing proper identification or
location.

b. Directly and through it's agents and
employ@es, violated 15 U.S.C. § 1692b(2) by
stating the ¢onsumer owes a debt.

G. Directly and through it’s agents and

amployees, violated 15 U.S.c. § 1692d hy

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engaging in conduct the natural consequence

of which was to harass, oppress or abuse.

d. Directly and threugh agents and employees,
violated 15 U.8.C § 1692e by making or
causing to be made false, deceptive and
misleading representations to plaintiff in
connection with defendant’s debt collections
efforts including:

1. False representations as to the
character, amount and/or legal status
of the alleged debt.

li. Failure to dise¢lose clearly in all
written any télephone communications
made or caused to made to plaintiff by
Said defendant that the communication
was Made to collect debts and
information obtained would be used for
that purpose.

iii. The threat to take action that cannot

be legally taken by defendant-
ea. Defendant viclated 15 U.§.C. § 16929 by
failing to provide adequate notice of the plaintiff’a

right to challenge the validity of the alleged dabt.

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2a. Defendant violated 15 U.S.c. $ 1692g(a) by
failing to provide validation of debt.

24, Defendant violated 15 U.s.c. § 1692g(b) by
failing to provide validation of disputed debt,

Zo. As a Tesult of the above violations of the
FDCPA, Defendant is liable to Plaintiff for her actual
damages, including out of pocket losses and emotisnal
distress, Statutory damages of ‘$1000.00 per incident,

costs, punitive damages and attorney fees.

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SECOND CLAIM — FRAUD

26. Plaintiff hereby incorporates Paragraphs 1-
25 above as fully set forth herein.

27. Defendant directly and through it’s agents
and employees invaded the privacy of Plaintiff by causing
the Plaintiff to suffer false debt, resulting in
financial and emotional harm.

WHEREFORE, Plaintiff respectfully prays that judgment be
entered in her favor against the defendant in the amount of
$250,000.00 including:

A. Actual Damages;

B. Statutory Damages pursuant FDCPA violations;
Cc. Costs and reasonable attorneys’ fees and;
D. Such other further relief the Court deems Just

and proper.

oa lL
David J, Khawam, Esquire
Attorney For Plaintiff
216 Haddon Avenue, Suite 664

Westmont, NJ 08168
Dated: J-ZO-OB (856) 858-1011

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EXHIBIT A_

LETTER FROM EI.AINTIFF DATED FEBRUARY &, 2006

 

 

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ESC ———

 
 

 

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February 8, 2006.
National Credit Services
PO Box 312125
Atlanta, GA 31131
To Whom It May Concern:
Enclosed is a check to setile the following account:

= Acct #: 44

 

Upon receipt and acceptance (i.e, cashing) of this check indicates that this account is
settled and paid in full. Please mail me a settlement letter indicating that the above
account has been settled and closed.

Thank you,

Jane Thompson

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EXHIBIT B

LETIER FROM NALIONAL CREDIT SYSTEMS, INC, DATED FEBRUARY 20, 2006

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ational
Credit Systems, inc.

  

National Credit Systems, Inc P.O. Box 3121425 Atlanta, Ga, 31131 (800) 367-1050 (404) a29-0805

 

02/20/2006

Jane Thompson
432 Sloan Ave
Oaklyn NJ 08107

Client: WOODSVIEW / TESCO PROPERTIES
lent Account Number: 44 a
Current Account Number: 1059872

Balance: 1 Account(s) for $1,900.94
Your check for $175.00 was returned to us by your bank,

This letter shall serve as official notification that certified funds are due immediately to remedy
this matter, This letter may serve as your only notification of this matter. Your response to this
notification is required Immediately, If a response is not received, National Credit Systems will
Immediately pursue remedies applicable under Federal ahd State Law,

Time is of the essence,

Sincerely,

REGINA BRAND
Collection Representative
404-592-0201

5G

This communication is from a debt collector, This is an attempt to collect a debt and any
Information obtained will be used for this Purpose,

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EXHIBIT C

LETTER FROM PLAINTIFF DATED MARCH 13, 204

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March 13, 2006

432 Sloan Ave
Oaklyn, NJ 03107

National Credit Systems, Inc
PO Box 312125
Adanta, GA 3113)

Dear Collection Agency,

This is a dispute to the claim you make in your attached letter. This is not a refusal to pay, bt a notice that
your claim is disputed. .

You are now on notices that this debt is disputed. If you report it to a CRA and fail to inclnde a dispute
notation, per £5 U.S.C. § 168] (x)(1(B) and subsequent sections, you are im violation and I intend to
pursue my rights to the fullest extent of the law. if you intend to correspond without validation, I will
vigorously enforce all my rights under both FXCPA and FCRA, 2s well as Civil Law, Cemmon Law and
the Uniform Conunercul Cade.

Thig is a request for validation made pursuant to the Fair Debt Collection Practices Act Please be advised
that this is not a request for “validation” that you have my mailing address. T am requesting’ “validation”
ofthe original debt; that is, competent evidence that | have sorve contractral obligation to pay yor, and this
is not an attensyt of fraud, or defaneation of my chvaractat, ov theft of my identity.

Please also be aware that if any negative mark is found cm my credit reports from your company: oF amy
company that you represent, this will result m my filing an immediate lawsuit againet you end your client
for 1} Violation of the Fair Credit Reporting Act, 2) Violation of the Fair Debt Collection Practices Act, 3) _
Defamation of Character, and 4) Negligent Enshlomert of Identity Fraud. This inchades, but is not limited
to: falsely reporting the Date of Opeange, Date of Last Payment, Date of Last Activity, ar
FrovewPaid/(Closed dates ader cach conuspesdiig credit reporting Eeencics tous, end section 623 of the
FCRA.

Under the FDCPA, I request that alt farther communications be seut through the USPS under federal time
credentials, proof of your licensing in both your state of incorporation and leaning in the State of
Peonsylvanin.

 

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EXHIBIT D

LETTER FROM NATIONAL SYSTEMS, INC, DATED MARCH 22, 2006

 

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ational
Credit Systems, Inc.

 
 

National Credit Systems, Ine. 9.0. Box 312125 Allanta,Ga. 31131 (800) 367-1050, (404) 620-9595

 

03/22/2006

Jane Thompson
432 Sloan Ave
Oaklyn NJ 08107

Client: WOODSVIEW / TESCO PROPERTIES
Cllent Account Nurmber: 44
Current Account Number: 1059872

Balance: 1 Account(s) for $1,930.94

Enclosed you will find copies requested. If you have any questions please contact this office
immediately.

We extend this opportunity to settle this debt in a frlendly manner. You may send your payment
in full to Nationa! Credit Systems, Inc. or calf (404) 629-2728 at once,

Sincerely,

LETRISHA CHATMAN
Collection Representative
404-592-0201

LTR 19

This communication is from a debt collector. This Is an attempt to collect a debt and any
information obtained will be used for this purpose.

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84/26/2005 11.11 12786769816 WOODSVIEM APTS PAGE, 82
ATTEMPT TO COLLECT A BAD DEBT
Date 3 . n,
Names
Forman Adress
Property Name

The porpose of this lettey ls to collect a debt. Any information obtained will be used
For that and other purposes allowed by law. Please be wdvised that you have 10 days from
the above date te pay the balance below. In ths event that you have not contacted us within
the 10 days, then this account will be placed with the following enllection sgeucy:

 

Any ctrrespondence or dillogue after the initial 10-day period should be done
darough Hin collotion apeicy ai the setiress shave,

 

 

Balance now due:
$ 6 Reat from, __to
$7 _, Terminsdon Fee Due a

"aon, on Lagat =o
$_ 550.0% Minus Reeurity Deposit
9 sreea Due
To set up payment arrangements, contact
n-ne Property Manager
ZAbr HOF Phaoe Number -
"Thank you in arivance for your conperation,

os) .

ieee TESCO Powe ae
‘Pmardiee dqap Cine ririealt Coorvernainadiefial Fhabieds IR Fart Pht OPO TA

0f409z Bed —L00Z/OZ/LO PANY ASL USUUNDO =—,OD00-AB-EE: | A8ED
 

 

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EXHIBIT E

LETTER DENYING A HOME EQUITY LINE OF CREDIT TO PLAINTIFF

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Consumer Loan Center
2730 Liberty Avenue
Pittsburgh, PA 15222

 

IMMEDIATE ACTION
REQUESTED

@PNCBAN | ennonttves

1-888-PNC-BANK
option 3-1-2

 

 

 

March 21, 2007

Brian J. Wheeler’ weer

Jane 7. Thompson
432 Sloan Avenue
Oaklyn, NJ 08107

Re: Application Number 11578540
Dear Brian Wheeler and Jane Thompson,

- Thank you for choosing PNC Bank, N.A. for your borrowing needs. Unfortunately, we cannot
approve your loan application because we were unable to obtain the following information from you:

1. satisfactory documentation providing verification of release of lien/jfudgement/gartishment

if you are still interesied in a loan and would like to provide the missing information described above,
please call 1-888-PNC-BANK option 3-1-2 with the application nuraber noted below your address.

We thank you for the opportunity to serve you, and invite you to think of our financial institution for all |
of your fmancial needs.

The faderal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color, redigian, national
ongin, sex, marital status, age (previded the applicant has the capacity to enter into a binding contract), because all or part of the applicant's income
The tal ooh ates nner Secchi is See b= Soebehy cP Sass Cones Resaarae icp Tn
I is law conceming this lorie: Com et of the Currency, Customer nee Graup,
McKinney Street, Sulte 3450, Housten, TX 77010-9050 9 ° y ‘ if

APSO 0b 4° oa Ha Zh) uerimod HOO Ne he i200 300257015
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EXHIBIT F

LETTER FROM PLAINTIFF DATED APRIL 2, 2007

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April 2, 2007

Dear Tesco Property Manager

This is a dispute to the claim you make in your attached letter. This
is net a refusal to pay, but a notice that your claim is disputed.

You are now on notice that this debt is disputed. IY you report it to
a CRA and fail te include a dispute notation, per 15 U.S.C. $ 1681

(a) (1) (8) and subsequent sections, you are in violation and I intend to
pursue my rights to the fullest extent of the law. If you intend te
correspond without validation, I will vigorously enforce all my rights
under both FDCPA and FCRA, as well as Civil Law, Common Law and the
Uniform Commercial Code.

This is & request for validation made pursuant to the Farr Debt
Collection Practices Act. Please be advised that this is net a request
for "validation": that you have my mailing address. I am requesting a
"validation" af the original debt; that is, competent evidence that I
have some contractual obligation to pay you, and this is not an attempt
of fraud, or defamation of my character, or theft of my identity.
Please alse be aware that if any negative mark is found on ny credit
reports from your company or any company that you represent, this will”
result in my filing an immediate lawsuit against you and your client
for i} Violation of the Fair Credit Reporting Act, 2) Violation of the
Fair Debt Collection Practices Act, 3) Defamation of Character, and 4)
Negligent Enablement of Identity Fraud. This includes, bot is not
limited to: falsely reporting the Date of Opening, Date of Last
Payment, Date of Last Activity, or Frozen/Paid/Closed dates under each
corresponding credit reporting agencies terms, and section 623 of the
FORA.

Under the FDCPA, I request that all further communications be sent .
through the USPS under federal time stamp. Please provide validation
of this debt and its authenticity, current proof of your licensing
credentials, proof of your licensing in both your state of
incorporation and jicensing in the State of Pennsylvania.

Regards,

   

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